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lN THE UN|TED STATES DlSTR|CT COURT

FOR THE DlSTR|CT OF COLUMB|A

Rodney Lail, et al., ) C/A No. O1;10-CV 00210 PLF
Plaintiff, §
vs. § MOT|ON TO D|SM|SS
United States, et al , §
Defendant. §

 

YOU WlLL PLEASE TAKE NOTlCE THAT, pursuant to Ru|e 12(b)(2) and Rule 12(b)(3)
of the Federa/ Ru/es of C/'v/'/ Procedure, Defendant Jay Saleeby, individually and in his official
capacity With the Aiken Bridges law firm, proceeding pro se moves for an Order dismissing this
action on the bases that (1) this Defendant is not subject to the personal jurisdiction of this Court
and (2) venue is improper This Defendant is entitled to granting of his l\/|otion to Dismiss for the

reasons stated in the attached l\/lemorandum of LaW in Support of the l\/lotion to Dismiss.

Respectfully submit

  
 

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JAl\/lE SALEEBY, JR

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By:

 

Florence, South Carolina
August 16, 2010

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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLUMB|A

Rodney Lail, et al , ) C/A No. 01:10-CV 00210 PLF
)
Plaintiff, )
) MEMORANDUM
vs. ) OF LAW |N SUPPORT OF
) THE MOT|ON TO D|SM|SS
United States, et a|.7 )
)
Defendant. )
)

 

Pursuant to LCvR 7(a) of the Local Rules for the United States District Court for the
District of Columbia, Defendant Jay Sa|eeby, individually and in his official capacity with the
Aiken Bridges law firm, proceeding pro se files this l\/lemorandum of Law in support of his
l\/|otion to Dismiss on the bases that (1) this Defendant is not subject to the personal jurisdiction
of this Court and (2) venue is improper

|. STATEMENT OF FACTS

Ten (10) pro se Plaintiffs have filed a Second Amended Complaint (ECF Docket Entry
#12) against forty (40) named Defendants alleging causes of action for: (1) violations of the
Federal Tort Claims Act; (2) individual B/'vens and Conspiracy; (3) violations ofthe Plaintiffs’ civil
rights under 42 U.S.C §§ 1981, 1983 and 1985; (4) violations of the Racketeer influenced and
Corrupt Organizations Act; (5) violations of the South Caro|ina Tort Claims Act; (6) infliction of
emotional distress; (7) South Caro|ina civil conspiracy; and (8) vicarious liability 1 The Second
Amended Complaint, which was filed on July 1, 2010, is 105 pages long and very difficult to

comprehend making a concise statement of the facts difficult to set forth.

 

1 Plaintiffs James Spencer, Rodney Keith Lail, irene Santacroce, Ricl<y Stephens, l\/larguerite Stephens,
Doris Holt and Nicholas C Williamson filed a Complaint in the United States District Court for the District
of South Caro|ina, Florence Division on l\/lay 29, 2002 (Case No 4 02-cv-0859-RBH) alleging causes of
action for (1) civil conspiracy, (2) violations of the Plaintiffs' civil rights under 42 U S C § 1893, (3)
violations of the Racketeer influenced and Corrupt Organizations Act, (4) false imprisonment and arrest,
(5) malicious prosecution and abuse of process, (6) assault and battery (7) intentional infliction of
emotional distress, (8) tortious interference with contract, (9) libel and slander, (10) wrongful discharge
and retaliation, and (11) conversion The lawsuit filed in 2002 arose out of the same alleged conspiracy in
2000 to take over Southern Holdings that gave rise to the present lawsuit ECF indicates the 2002 lawsuit
was terminated on l\/lay 9, 2007

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Accordinq to the Second Amended Complaint:

Plaintiffs James Spencer and Doris Ho|t allege that they were forced to abandon their
home in North Caro|ina in late 1998 because they were receiving death and physical threats
The identity of the persons making the threats is not given in the Complaint, nor is the reason
that these threats were being made.

The wrongdoing alleged in the Second Amended Complaint appears to have begun
sometime in 2000, when Plaintiff James Spencer was the CEO of Southern Holdings. Southern
Holdings was a holding company involved in business development and restructuring of
companies P|aintiffs allege that Ancil Garvin, David Smith, Vivian Nichols and Pame|a Smith
conspired to take over control of Southern Holdings and remove Plaintiff Spencer from his
position as CEO because Garvin and Smith were opposed to the sale of a subsidiary offshore
corporation

The conspiracy is alleged to have continued for years and allegedly resulted in threats to
the security of the Plaintiffs and their families if they did not assist with the takeover of Southern
Holdings, harassment of the Plaintiffs and theirfamilies, the illegal searching of the plaintiffs
homes iri South Caro|ina, the issuance of an illegal warrant for P|aintiff James Spencer’s arrest
and paperwork for his extradition from South Caro|ina to North Caro|ina, and improper conduct
by law enforcement agencies who allegedly were not responsive to the P|aintiffs’ claims of
wrongdoing by the conspirators

Plaintiffs allege that the conspiracy expanded and grew when it became known that they
intended to file a federal and state tort claims action. Persons and organizations named in the
continuing conspiracy included at least the District /-\ttorney’s office in Guilford County North
Caro|ina, law enforcement agencies in North Caro|ina and South Caro|ina, law enforcement
officials in North Carolina and South Caro|ina, the South Carolina Department of Social
Services, Palmetto Health Alliance in South Caro|ina, private attorneys in South Caro|ina,

Unil-lea|th Post Acute Care of Co|umbia, South Caro|ina, and the Federal Bureau of

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investigation The ovenivhelming majority of the alleged acts in the Second Amended Complaint
are alleged to have occurred in South Caro|ina.

This Defendant’s only connection to the Plaintiffs is his involvement as one of several
defense counsel in the case of Southern Holdingsl |nc. v. Horry Countv, Civi| Action No. 4'02-
1859-RBH, which was litigated in the District of South Caro|ina. This Defendant has no
connection with the District of Columbia. He does not reside and has never resided in the
District of Columbia. He is not a member of the District of Columbia Bar, he does not own
property in the District of Columbia. He does not conduct any business in the District of
Columbia or represent any clients in the District of Columbia. His principal place of business has
been and remains in Florence, South Carolina. He is a member in good standing with the South
Caro|ina Bar

||. ARGUMENT

a. The United States District Court for the District of Columbia does not have personal
jurisdiction over this Defendant

This Defendant has moved to dismiss this lawsuit pursuant to Rule 12(b)(2) of the
Federal Rules of Civi| Procedure because this Court does not have personal jurisdiction over
them. Plaintiffs have the burden of making a prima facie showing that the Court has personal
jurisdiction over a defendant See Davis v. Grant Park Nursinq Home LP, 639 F.Suppi2d 60
(D D.C. 2009) To meet this burden, Plaintiffs “must allege specific facts on which personal
jurisdiction can be based; [they] cannot rely on conclusory allegations,” Walton \/. Bureau of
m, 533 F.Supp.2d 107, 112 (D.D.C.2008). Plaintiffs have failed to allege the necessary
facts

“To establish personal jurisdiction over a non-resident, a court must engage in a two-part
inquiry: A court must first examine whether jurisdiction is applicable under the state`s long arm

statute and then determine whether a finding of jurisdiction satisfies the constitutional

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requirements of due process.” GTE New l\/ledia Services, lnc_ v_ Bellsouth Corp., 199 F.3d
1343, 13477 339 U.S App_ C.C_ 332, 336 (Ct. App. 2000).
The District of Columbia’s long arm statute is D C. Code Ann § 13-423(a)(1981), which
provides in pertinent part;
(a) A District of Columbia court may exercise personal jurisdiction
over a person, who acts directly or by an agent, as to a claim for
relief arising from the person’s - -

(1) transacting any business in the District of Columbia; ..

(3) causing tortious injury in the District of Columbia by an act or
omission in the District of Columbia;

(4) causing tortious injury in the District of Columbia by an act or

omission outside the District of Columbia if he regularly does or

solicits business engages in any other persistent course of

conduct, or derives substantial revenue from goods used or

consumed, or services rendered, in the District of Columbia.
D.C Code Ann. § 13-423(a)(1981).

To show that the exercise of personal jurisdiction is within the permissible bounds of the

Due Process Clause .a plaintiff must show ‘minimum contacts’ between the defendant and
the forum establishing that ‘the maintenance of the suit does not offend traditional notions of fair
play and substantial justice."’ GTE New l\/ledia Services, inc v. Bellsouth Corp., supra, citing
international Shoe Co. v Washinqton, 326 U.S 310, 316 (1945). “Under the ‘minimum contacts
standard courts must ensure that ‘the defendants conduct and connection with the forum State

are such that he should reasonably anticipate being haled into court there ld., citing VVorld-

Wide Volkswaqen Corp. v. Woodson, 444 U.S. 286 (1980).

 

The District of Columbia’s long arm statute does not reach this Defendant Thei'e are no
allegations in the Second Amended Complaint that this Defendant transacted any business in
the District of Columbia or that they caused any tortious injury in the District of Columbia by an
act or omission in or outside of the District of Columbia. Even if the Court determines that this

Defendant did cause tortious injury in the District of Columbia by an act or omission outside the

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District of Columbia, the long arm statute still does not reach this Defendant because he does
not regularly conduct or solicit business in the District of Columbia, he does not engage in any
other persistent course of conduct in the District of Columbia and he does not derive substantial
revenue from goods used or consumed, or services rendered, in the District of Columbia This
Defendant does not have the “minimum contacts” with the District of Columbia that would cause
him to be subject to the personal jurisdiction of this Court. Furthermore, this Defendant does not
have any connection `with the District of Columbia such that he should reasonably anticipate
being haled into court in the District of Columbia. The United States District Court for the District
of Columbia does not have personal jurisdiction of this Defendant and this lawsuit should be
dismissed pursuant to Rule 12(bj(2) of the Federal Ruies of Civii Procedure for lack of personal
jurisdiction
b. Venue is not proper in the United States District Court for the District of Columbia
This Defendant has moved to dismiss this lawsuit pursuant to Rule 12(b)(3) of the
Federal Rules of Civii Procedure because venue is not proper in this Court. Plaintiffs have the

burden of establishing that venue is proper. See Vaukus v. U.S. 691 F.Supp.2d 119 (D.D.C.,

 

2010)_

The Second /-\mended Complaint does not allege jurisdiction founded solely on diversity
of citizenship lt alleges federal question jurisdiction based on the Defendants` violations of the
Federal Tort Claims Act, a B/`vens action, violations of the Plaintiffs’ civil rights under 42 U S C
§§ 1981, 1983 and 1985 and violations of the Racketeer influenced and Corrupt Organizations
Act, as weil as South Caro|ina state law claims Consequently, the applicable federal venue
provisions can be found at 28 U.S.C § 1391(b) of the United States Code which states:

A civil action wherein jurisdiction is not founded solely on diversity
of citizenship may, except as otherwise provided by |aw, be
brought only in (1) a judicial district where any defendant resides
if all defendants reside in the same state, (2) a judicial district in
which a substantial part of the events or omission giving rise to the

claim occurred, or a substantial part of property that is the subject
of the action is situated, or (3) a judicial district in which any

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defendant may be found, if there is no district in which the action
may otherwise be brought

28 U.S C § 1391(b). All of the Defendants in this lawsuit do not reside in the same state, so §
1391(b)(1) is inapplicable There is a district in which this lawsuit may be brought, so §
1391(b)(3) is inapplicable The overwhelming majority of the alleged acts in the Second
Amended Complaint are alleged to have occurred in South Caro|ina (See Second Amended

Complaint, qenerally; ECF Docket Entrv #12), so § 1391(b)(2) is the applicable subsection

 

South Caro|ina is not only the appropriate district under the venue statutes, but it is also
the most appropriate and judicially efficient forum for the handling of this case Almost all of the
evidence and witnesses for this lawsuit will be located in South Caro|ina. Six (6) of the Plaintiffs
live in South Carolina (Ld. at j[]| 3-8) and at least twenty six (26) of the Defendants are South
Caro|ina state agencies South Caro|ina companies or individuals living in South Caro|ina (l_d._a_t
jij 11-51)

C|early, the United States District Court for the District of South Caro|ina is the proper
venue for this lawsuit, and this lawsuit should be dismissed pursuant to Rule 12(b)(3) of the
Federal Ru|es of Civii Procedure for improper venue.

CONCLUS|ON

Based upon the facts alleged in the Second Amended Complaint and the arguments set

forth above, Defendant Jay Saleeby, individually and in his official capacity with the Aiken

Bridges law firm, respectfully requests that the Court grant his l\/lotion to Dismiss.

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Respectfully submitted,

JAl\/lES SALEEBY, JR.

Pro e

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Florence, South Caro|ina
August 16, 2010

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IN THE UNITED STATES DlSTRICT COURT

FOR THE DlSTRICT OF C()LUMBIA

Rodney Lail, el al. ,
Civii Action No. 1;2010-00210-PLF
Plaintiffs,

v.
AFFIDAVIT ()F
United States, et al., JAMES lVl. “JAY” SALEEBY, JR.

Defendants

 

PERSONALLY APPEARED BEFORE ME, JAl\/IES M. "JAY” SALEEBY, JR., who
being duly sworn, deposes and states:

l . l am a Defendant in the above-captioned lawsuit

2. l have been licensed to practice law in the State of South Carolina since 1995. I
am a 1995 graduate oi` the University of South Carolina School of liaw. I am a member in good
standing of the South Carolina Bar. l practice with the law firm of Aiken, Bridges, Elliott, Tyler
& Saleeby, P./\.

3. I do not reside nor have I ever resided in the District of Columbia. l was born in
South Carolina and have lived here my entire lit`e. l am not a member ofthe District of Columbia
Bar, l do not own personal or real property in the District of Columbia. l do not conduct any
business in the District of Columbia or represent any client from the District of Columbia. Since
graduating from law school and becoming a practicing attorney. my principal place of business

has been in Florence. South Carolina.

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4. l\/ly only connection to the Plaintiffs is my involvement as one of several defense
counsel in the case of Sou/hern Holdings Inc. v. Hr)rry (i'r)unty, Civii Action No. 4:02-]859-

RBI I, which was litigated in the District of South Carolina.

JAMESVAY" SALEEBY, JR.

FURTHER, AFFIANT SAYETII NOT.

SWORN T() BEFORI;` l\/IE 'l`HIS
16th DAY OF /\UGUST 2010.

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Commission Expires: _____//[/7[;20/'1¢__

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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLUMB|A
Rodney Lail, et al., C/A No. 01:10-CV 00210 PLF

Plaintiff,

United States, et al.,

Defendant

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)
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vs )
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M
Upon consideration of the l\/lotion to Dismiss filed by Defendant Jay Sa|eeby, individually
and in his official capacity with the Aiken Bridges law firm, and all other papers and proceedings
submitted in this matter, and for good cause shown:
lT |S HEREBY ORDERED THAT the Second Amended Complaint is hereby
DlSl\/llSSED with prejudice as to Jay Saleeby, individually and in his official capacity with the
Aiken Bridges law firm.

lT IS SO ORDERED.

 

PAUL L. FR|EDl\/lAN
United States District Judge

August , 2010

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Rodney Lail, el al. ,

V.

United States, et a/.,

IN THE UNITEI) STATES DISTRICT COURT

F()R THE DISTRICT OF COLUMBIA

Civii Action No. 1:2010-00210-PliF
Plaintift`s,

CERTIFICATE OF SERVICE

Defendants

 

The undersigned does hereby certify that service of the below listed documents in the
above-captioned matter was made upon the Pro Se Plaintiffs and all other known counsel ot` record
by placing copies in the United States l\/lail, first class postage prepaid, at the below listed addresses
clearly indicated on said envelopes this the 16th day of August 2010, addressed as t`ollows:

1)
21
3)

4)

Motion to Dismiss

Memorandum in Support of Motion to Dismiss
Aft`ldavit of James M. "Jay" Salceby, Jr.
Proposed Order

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